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                                                         U. S. DISTRICT COURT
                                                         Southern District of Ga.
             IN THE UNITED STATES DISTRICT COURT FO%|iecj in Office
                THE SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION


UNITED STATES OF AMERICA,         )                           Deputy Clerk
                                  )
V.                                )           Case No.    CR517-03-02

CRAIG MOSES JAMES,


                 Defendant.




      Adam Ferrell, counsel of record for defendant in the above-

styled cases has moved for leave of absence.        The Court is mindful

that personal and professional obligations require the absence of

counsel on occasion. The Court, however, cannot accommodate its

schedule to the thousands of attorneys who practice within the

Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.

      SO ORDERED this           day of May 2017



                                   WILLIAM T. MOdRE, JR.
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
